Case 1:08-cv-00116-SS — Document 70

IN THE UNITED STATES DISTRICT COURT

Filed 10/02/08) Page 1 of 2

FILED

FOR THE WESTERN DISTRICT OF TEXAS ‘26980CT -2 PH 2: 16

AUSTIN DIVISION

FREE MARKET FOUNDATION, AMERICAN
CIVIL LIBERTIES UNION OF TEXAS, TEXAS
EAGLE FORUM PAC, KELLY
SHACKELFORD, DAVID BROILES,

Plaintiffs,

-VS-

DAVID A. REISMAN, in his official capacity as
Executive Director of the Texas Ethics
Commission; RAYMOND R. DAVENPORT, III,
WILHELMINA DELCO, ROSS FISCHER, JIM
GRAHAM, TOM HARRISON, PAULA M.
MENDOZA, DAVID MONTAGNE, NICHOLAS
C, TAYLOR, in their official capacity as members
of the Texas Ethics Commission; JOHN R.
ROACH, in his official capacity as District
Attorney for Collin County, Texas and as a
representative of the class of District and County
Attorneys in the State of Texas,
Defendants.

FINAL JUDGMENT

BE IT REMEMBERED on this thee —~“day of October 2008 th

‘in the above-styled cause, and specifically this Court’s order of Au:

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Case No. A-08-CA-116-SS

e Court reviewed the file

cust 21, 2008, and the

“Stipulation to Agreed Judgment” filed by the parties on September 19, 2008, and, thereafter, enters

this, the final judgment in this case.

IT IS ORDERED, ADJUDGED, and DECREED that the Texas Government Code

§§ 302.17 and 302.019 violate the First Amendment of the United States Constitution in that

Case 1:08-cv-00116-SS Document 70 Filed 10/02/08

Page 2 of 2

they are not narrowly tailored and, therefore, significantly chill core political speech

protected by the First Amendment to the United States Constitution

ITIS FURTHER ORDERED, ADJUDGED, and DECREED that the plaintiffs shall

have their costs in this suit in the amount of TWO HUNDRED EIGHTEEN THOUSAND

AND NO/100 DOLLARS ($218,000.00) and, if the costs are not paid prior to October 31,

2008, the plaintiffs shall be paid additional interest in the amount o

until paid.

£2.05 percent per annum

IT IS FINALLY ORDERED, ADJUDGED, and DECREED that the stipulations in

the “Stipulation to Agreed Judgment” filed September 19, 2008, shall remain in full force

and effect.

SIGNED AND ENTERED this the am day of October 2008.

JY Sernvdpttte —>

UNITED STATES IMISTRICT JUDGE

